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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA
                                                    Case No. 22-cr-00007-LKG-1
                  v.

 MARILYN J. MOSBY,

                        Defendant



   STATE’S ATTORNEY MOSBY’S RESPONSE TO THE INTERESTED PARTIES’
                       MOTION TO UNSEAL

       Defendant Marilyn J. Mosby, by and through her undersigned counsel, hereby submits this

Response to the Motion to Unseal filed by the publications The Daily Record, The Baltimore Sun

and The Baltimore Banner (collectively, the “Interested Parties”). In support, Ms. Mosby responds

to the Interested Parties’ requests to unseal as follows.

       The docket in this case—which remains in the pretrial phase—contains approximately 55

entries, including transcripts, substantive motions, responses, and replies, filed by both parties in

this high-profile criminal prosecution. The Interested Parties urge the Court to unseal two of those

entries: ECF Nos. 29 and 44.

       As an initial matter, it bears noting that the public’s right of access to criminal proceedings

is of paramount importance to State’s Attorney Mosby; and that interest is something she takes

very seriously in both her professional and personal capacity. To that end, Ms. Mosby believes

that the docket entries in these proceedings should be available to the public to the greatest extent

allowed by law.

       Ms. Mosby Does Not Oppose Unsealing ECF No. 29

       Consistent with these views, Ms. Mosby does not oppose unsealing ECF No. 29, which

consists of four exhibits attached to her motion for a status conference on March 23, 2022. When
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Ms. Mosby originally filed those exhibits under seal, she did so in an abundance of caution because

the government’s covering letter (one of the exhibits) contained references to certain discovery

materials, including individuals’ names. See D. Md. Standing Order 2020-01(2)(c) (relating to

Discovery in Criminal Cases). Because the exhibits do not contain actual discovery materials,

however, Ms. Mosby does not object to the seal being lifted. In any event, if the Court deems it

necessary, a limited redaction of just those portions of ECF No. 29 that contain individuals’ names

is also appropriate. See In re Washington Post Co., 807 F.2d 383, 389 (4th Cir. 1986) (recognizing

that sealing of criminal proceedings, if done at all, must be “narrowly tailored” to achieve a

compelling interest).

       ECF No. 44 Must Remain Under Seal As A Matter Of Law

       ECF No. 44, however, must remain under seal because, as noted in Ms. Mosby’s original

sealing motion, certain submissions related to pretrial administrative matters (like those discussed

in the document in question) are expressly required to remain under seal as a matter of law. See

ECF No. 42, Defendant’s Motion to Seal (Apr. 4, 2022). Such rules and statutes expressly require

certain aspects of a criminal proceeding to remain ex parte and under seal because, while the right

of access to criminal court filings is undoubtedly broad, it is not unlimited. See In re The Wall

Street Journal, 601 F. App’x 215, 218 (4th Cir. 2015) (acknowledging that “[t]he public enjoys a

qualified right of access to criminal … pretrial filings.”) (citing In re Time Inc., 182 F.3d 270, 271

(4th Cir. 1999)). In particular, courts have held that the right of access to criminal proceedings

must yield in certain circumstances where access would undermine a defendant’s right to a fair

trial. See In re S.C. Press Ass’n, 946 F.2d 1037, 1043 (4th Cir. 1991) (“The right of the press to

access to criminal proceeding [sic] is presumed, but it is qualified because it must yield to a

defendant’s Sixth Amendment right to a fair trial ….”); United States v. Blankenship, 79 F. Supp.




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3d 613, 620 (S.D. W. Va. 2015) (“The right of access to criminal proceedings is not absolute, but

must be balanced against other compelling interests protected by the Constitution, such as the right

of the accused to a fair trial.”) (internal quotation marks omitted). Given this, ECF No. 44 presents

the rare situation (and, in this case, the only so far) where the public right of access must yield to

the Defendant’s rights, and where applicable rules and statutes require the matters discussed

therein to remain under seal.

                                          CONCLUSION

       For the foregoing reasons, Defendant Marilyn Mosby respectfully requests that the Court

unseal ECF No. 29 (with appropriate redactions, if necessary), and retain ECF No. 44 under seal.



Dated: May 12, 2022                     Respectfully submitted,


                                         /s/ A. Scott Bolden
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                                CERTIFICATE OF SERVICE

       I certify that, on May 12, 2022, this document was electronically filed with the Clerk of

Court using the Court’s CM/ECF system, which will then serve a notification of the filing to the

registered parties of record.



                                                   /s/ A. Scott Bolden
                                                   A. Scott Bolden




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